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                                                                                     May 27, 2020
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT                                                     MIAMI

                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303


  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                            May 27, 2020

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   Appeal Number: 20-11929-AA
   Case Style: Bryan Boigris v. EWC P&T, LLC
   District Court Docket No: 1:19-cv-21148-RNS

   This Court requires all counsel to file documents electronically using the Electronic Case
   Files ("ECF") system, unless exempted for good cause. Non-incarcerated pro se parties
   are permitted to use the ECF system by registering for an account at www.pacer.gov.
   Information and training materials related to electronic filing, are available at
   www.ca11.uscourts.gov.

   The referenced case has been docketed in this court. Please use the appellate docket number
   noted above when making inquiries.

   Eleventh Circuit Rule 31-1 requires that APPELLANT'S BRIEF BE SERVED AND FILED
   ON OR BEFORE June 30, 2020. APPELLANT'S APPENDIX MUST BE SERVED AND
   FILED NO LATER THAN 7 DAYS AFTER FILING OF THE APPELLANT'S BRIEF.
   INCARCERATED PRO SE PARTIES ARE NOT REQUIRED TO FILE AN APPENDIX.

   This is the only notice you will receive concerning the due date for filing briefs and appendices.
   See Fed.R.App.P. 28, 30, 31, 32, the corresponding circuit rules, General Order 39 and the
   Guide to Electronic Filing for further information. Pro se parties who are incarcerated are not
   required to file an appendix. (In cross-appeals pursuant to Fed.R.App.P. 28.1(b), the party who
   first files a notice of appeal is the appellant unless the parties otherwise agree.)

   Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
   Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
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   CIP within 14 days after the date the case or appeal is docketed in this court;
   Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case
   or appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP.
   See FRAP 26.1 and 11th Cir. R. 26.1-1.

   On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
   complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
   filers (except attorneys appearing in particular cases as pro se parties) are not required or
   authorized to complete the web-based CIP.

   Attorneys who wish to participate in this appeal must be admitted to the bar of this Court,
   admitted for this particular proceeding pursuant to 11th Cir. R. 46-3, or admitted pro hac vice
   pursuant to 11th Cir. R. 46-4. In addition, all attorneys (except court-appointed counsel) who
   wish to participate in this appeal must file an Appearance of Counsel form within 14 days. The
   Application for Admission to the Bar and Appearance of Counsel Form are available at
   www.ca11.uscourts.gov. The clerk generally may not process filings from an attorney until that
   attorney files an appearance form. See 11th Cir. R. 46-6(b).

   11th Cir. R. 33-1(a) requires appellant to file a Civil Appeal Statement in most civil appeals.
   You must file a completed Civil Appeal Statement, with service on all other parties, within 14
   days from the date of this letter. Civil Appeal Statement forms are available on the Internet at
   www.ca11.uscourts.gov, and as provided by 11th Cir. R. 33-1(a).

   MEDIATION. If a Civil Appeal Statement is required to be filed, your appeal and all related
   matters will be considered for mediation by the Kinnard Mediation Center. The mediation
   services are free and the mediation process is confidential. You may confidentially request
   mediation by calling the Kinnard Mediation Center at 404-335-6260 (Atlanta) or 305-714-1900
   (Miami). See 11th Cir. R. 33-1.

   Attorneys must file briefs electronically using the ECF system. Use of ECF does not modify the
   requirements of the circuit rules that counsel must also provide seven (7) paper copies of a brief
   to the court, nor does it modify the requirements of the circuit rules for the filing of appendices
   in a particular case.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Tonya L. Searcy, AA/deo
   Phone #: (404) 335-6180

                                                                      DKT-7CIV Civil Early Briefing
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 19-CV-21148-SCOLA

  BRYAN BOIGRIS,

        Plaintiff,
  v.

  EWC P&T, LLC, a Florida
  limited liability company,

         Defendant.
  _____________________________/

  EWC P&T, LLC,

        Counter-Plaintiff,
  v.

  BRYAN BOIGRIS,

         Counter-Defendant.
  _____________________________/

                             PLAINTIFF’S NOTICE OF APPEAL

       Notice is hereby given that Plaintiff BRYAN BOIGRIS in the above-named case, hereby

  appeals to the United States Court of Appeals for the Eleventh Circuit from the Final

  Judgment (ECF No. 132) entered in this action on the 20th day of April, 2012

  Dated: May 20, 2020.                     Respectfully submitted,

                                           HIRZEL, DREYFUSS & DEMPSEY, PLLC
                                           Counsel for Plaintiff
                                           2333 Brickell Ave, Suite A-1
                                           Miami, Florida 33129-2497
                                           Telephone: (305) 615-1617
                                           Facsimile: (305) 615-1585

                                           By: /s/ Patrick G. Dempsey
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